                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  NO: 3:04CR227

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
                                          )
vs.                                       )                               ORDER
                                          )
VINCENT LASHAWN BONDS,                    )
            Defendant.                    )
                                          )
_________________________________________ )

       THIS MATTER IS BEFORE THE COURT upon the receipt of an undated letter from

Vincent Lashawn Bonds (the “Letter”) to Chief Judge Graham C. Mullen. In the Letter, Mr. Bonds

complains about his appointed counsel, Kenneth D. Snow.

       It is the practice of this Court, when a defendant is represented by counsel, to rule on motions

filed only by counsel of record. Therefore, if Mr. Bonds has any matters he wishes this Court to

consider, they must be submitted through his attorney. The Court notes Mr. Bonds’ contentions that

Mr. Snow is not adequately representing Mr. Bonds’ interests. As such, the Court will schedule an

inquiry into the status of counsel.

       IT IS, THEREFORE, ORDERED that Mr. Bonds’ request is DENIED without prejudice

to Mr. Bonds’ right to re-file the request, if appropriate, through his attorney.




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                       Signed: October 14, 2005




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